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  IT IS ORDERED as set forth below:



  Date: April 16, 2018
                                             _____________________________________
                                                        Wendy L. Hagenau
                                                   U.S. Bankruptcy Court Judge

_______________________________________________________________
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